1:19-cv-01271-MMM # 1   Page 1 of 12                               E-FILED
                                       Friday, 09 August, 2019 12:02:12 PM
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1:19-cv-01271-MMM # 1   Page 2 of 12
1:19-cv-01271-MMM # 1   Page 3 of 12
1:19-cv-01271-MMM # 1   Page 4 of 12
1:19-cv-01271-MMM # 1   Page 5 of 12
1:19-cv-01271-MMM # 1   Page 6 of 12
1:19-cv-01271-MMM # 1   Page 7 of 12
1:19-cv-01271-MMM # 1   Page 8 of 12
1:19-cv-01271-MMM # 1   Page 9 of 12
1:19-cv-01271-MMM # 1   Page 10 of 12
1:19-cv-01271-MMM # 1   Page 11 of 12
1:19-cv-01271-MMM # 1   Page 12 of 12
